Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 1 of 13 PageID #: 4985




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

DEMETRIUS THOMAS,                        )
                                         )
             Plaintiff,                  )     Case No. 4:18-CV-1566
                                         )
v.                                       )     JURY TRIAL DEMANDED
                                         )
CITY OF ST. LOUIS, et al.,               )
                                         )
             Defendants.                 )




       Defendants’ Reply in Support of their Motion for Summary Judgment
      Defendants hereby file this reply memorandum in support of their motion for

summary judgment. Plaintiffs’ opposition to defendants’ motion for summary

judgment fails to demonstrate the existence of a genuine issue of material fact

precluding summary judgment in defendants’ favor. On the contrary, the material

facts cannot be said to be in dispute.

I.    The undisputed facts demonstrate that there can be no liability against the
      City on a Monell theory

      a.     The uncontroverted evidence demonstrates that the City was not
             deliberately indifferent in regards to its training, discipline or
             control of its officers.
      Plaintiff attempts to forge a claim against the City for failure to train based on

the lack of knowledge by most officers of a lawsuit filed against the City and fully

resolved in 2015. Specifically, it is the lack of memory of the officers deposed of the

settlement agreement in Templeton v. Unified Command, that was reached in 2015.

He then argues a series of unrelated improper actions on the part of one special
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 2 of 13 PageID #: 4986




operations unit demonstrate a lack of discipline or control by the City. Neither of

these demonstrates the legal requirement for a claim against the City.

       “[T]the inadequacy of police training may serve as the basis for § 1983

liability only where the failure to train amounts to deliberate indifference to the

rights of persons with whom the police come into contact.” Otey v. Marshall, 121

F.3d 1150, 1156 (8th Cir. 1997). “Policymakers continued adherence to an approach

that they know or should know has failed to prevent tortious conduct by employees

may establish the conscious disregard for the consequences of their action—the

‘deliberate indifference’—necessary to trigger municipal liability.” Connick v.

Thompson, 563 U.S. 51, 62 (2011)(internal citation omitted). “A municipality

shows deliberate indifference if it fails to provide further training after learning of a

pattern of constitutional violations by the police.” Giron v. City of Alexander, Case

No. 4:07-CV-00568-GTE, 2009 U.S. Dist. LEXIS 83083, *38 (E.D. Ark., Sept. 11,

2009); citing Dunn v. City of Elgin, 347 F.3d 641. 646 (7th Cir. 2003). Similar

conduct is necessary to put the City on notice of an unconstitutional training or

disciplinary program. Perkins v. Hastings, Case No. 4:15-CV-00310 BSM, 2017 U.S.

Dist. LEXIS 217455, *8 (E.D. Ark, Mar. 24, 2017); citing Mettler v. Whitledge, 165

F.3d 1197, 1204 (8th Cir. 1999), aff’d, 915 F.3d 512 (8th Cir. 2019).

      After the protesting that occurred in 2014, and the subsequent settlement in

the Templeton lawsuit, the St. Louis Police Department has engaged a multitude of

resources to add training and education to its existing protest response. (SOF ¶¶ 10-

14). They also created a new Bicycle Response Team to assist with responding to



                                            2
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 3 of 13 PageID #: 4987




large scale protesting. (SOF ¶¶ 23-24). After the Templeton agreement was entered

into, the SLPD sent a notification to all of its employees regarding the requirements

of the agreement. (SOF ¶15) Although Lt. Aubuchon, and most of the BRT members

on scene at the time of this incident were not members of the CDT team, the fact

that such wide-ranging efforts were undertaken to address the SLPD’s response to

civil disobedience demonstrates that there was no conscious disregard for the rights

of protestors on the part of the City of St. Louis. (See Connick v. Thompson, 563

U.S. at 61).

       Further, as Plaintiff has conceded, the City changed the Special Order

regarding the Use of Force to conform to the requirements of the agreement1. (Pl. SOF

¶ 135). In addition, the SLPD each month requires its officers to review the use of

force policy and sign electronically that they have done so. (SOF ¶ 18) Much of

Plaintiff’s theory rests on the testimony of several officers who have little or no

memory of the Templeton settlement agreement. (Pl. SOF ¶¶ 130-137). But that is

based almost entirely on questions that were asked more than five years after the

settlement was entered. Plaintiff may believe that the training programs and

additional units are left wanting, but they miss the point. This is a role that appellate

courts have expressly denied is proper for a district court to take. See Ahmad v. City

of St. Louis, 995 F.3d 635, 642-43 (8th Cir. 2021) citing Chicago United Ind. v. City


1 The Templeton final settlement agreement provided that the Court would retain jurisdiction to
enforce the terms of the agreement through January 1, 2018 (Pl. Ex. 14, p. 6). However, upon
reviewing the public docket of that case, no party filed any document stating that any party was
not in compliance of the order.

                                                3
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 4 of 13 PageID #: 4988




of Chicago, 445 F.3d. 940 (7th Cir. 2006.)(stating that it is not the role of the Courts

to micromanage a local police department.) Additionally, Plaintiff’s reliance on the

preliminary injunction order in Ahmad is error; the Eighth Circuit has stated that

the evidence adduced at the preliminary injunction hearing would not suffice to grant

permanent relief. Ahmad v. City of St. Louis, 995 F.3d 635, 641 (8th Cir 2021). That

the City has undertaken, as a municipality, such wide-ranging efforts to address the

response to protests demonstrates that there is a very conscious regard for the rights

of citizens and that a failure to train claim must be dismissed.

      Plaintiff’s response shows that a failure to discipline claim must also be

dismissed. To make a case for municipal liability under § 1983 for failure to supervise,

Plaintiffs must demonstrate that a supervisor “demonstrated deliberate indifference

or tacit authorization of the offensive acts.” Brockington v. City of Sherwood, 503 F.3d

667, 673 (8th Cir. 2007)(internal quotations omitted). Although it can be a distinct

claim from failure to train, a failure to supervise claim is analyzed the same. Liebe v.

Norton, 157 F.3d 574, 579 (8th Cir. 1998).

      Plaintiff has not provided any evidence of events that are similar in nature to

the actions alleged against the defendant officers. “A pattern of prior similar

misconduct is necessary because…an officer who misses a court date or an officer who

punches someone under questionable circumstances … does not logically cause an

officer to believe he could shoot and kill someone in violation of the Constitution

without fear of punishment.” Perkins v. Hastings, Case No. 4:15-CV-00310 BSM,

2017 U.S. Dist. LEXIS 217455, *8 (E.D. Ark, Mar. 24, 2017. “[A] showing at trial of a



                                           4
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 5 of 13 PageID #: 4989




relatively few instances of violations by individual police officers, without any

showing of a deliberate policy on behalf of [the City, would] not provide a basis for

equitable relief.” Ahmad v. City of St. Louis, 995 F.3d at 642. For example, Plaintiff

points to the testimony of Sarah Molina at an event in Fountain Park as a “similar”

instance of misconduct. (Pl. SOF ¶¶120-124) However, the facts of that case revolve

around the use of canisters tear gas and other launched munitions, not pepper spray

while making an arrest. (Id) Taking Plaintiff at his word that the event could be

misconduct, this event would not cause a member of a CDT arrest team to believe, as

Plaintiff alleges, beat an arrestee with a baton without fear of punishment. See

Perkins v. Hastings, supra.

             b.     There is no evidence that supports a claim that the City has a
                    pattern or practice of using excessive force or making unlawful
                    arrests on protestors.

      There is no evidence that a custom or practice caused any constitutional

deprivation. Oklahoma City v. Tuttle, 471 U.S. 808 (1985). A city may be subject to §

1983 liability for a custom only if it had a policy or custom of failing to act upon prior

similar complaints of unconstitutional conduct. Andrews v. Fowler, 98 F.3d 1069,

1074-75 (8th Cir. 1996) (emphasis added). There must exist a prior pattern of

unconstitutional conduct that is so “persistent and widespread” as to have the effect

and force of law. Id. at 1075. The Seventh Circuit aptly observed that “[t]he word

‘custom’ generally implies a habitual practice or a course of action that

characteristically is repeated under like circumstances.” Jones v. Chicago, 787 F.2d

200, 204 (7th Cir.1986). The analysis above demonstrates that there are no sufficiently



                                            5
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 6 of 13 PageID #: 4990




similar complaints that can possibly show a custom that has the force and effect of

law. Certainly, there is no custom that can show an affirmative link to the events

that occurred. Once again, the only similarity that can be shown in any of the events

Plaintiff points to is that they took place during protests. There are no other facts

asserted that suggest the circumstances, who deployed munitions, or what munitions

were deployed. (PL SOF ¶¶ 118, 120-124) The Supreme Court itself has stated that

general violations, even those that stem from facially similar issues, are not sufficient

to demonstrate a Monell claim; rather the violation in question has to be specific.

Connick v. Thompson, 563 U.S. 51, 60 (2011). In Connick, the Court found that there

was no Monell liability based on general violations of the Brady rule because the

violations alleged in Connick were different from the Brady violations alleged in

previously by the Defendant. Id. at 62. (“Those four reversals could not have put

Connick on notice that the office's Brady training was inadequate with respect to the

sort of Brady violation at issue here.”) Even if those prior incidents that did occur in

a protest, they don’t specify any other circumstances, such as who deployed the

munitions, when they were deployed, what kind of munitions or how they were

deployed. (SOF ¶¶ 118, 120-24.) For example, a launchable munition from an

armored vehicle is very different, and would require different training deploying

pepper spray from a hand-held canister during an arrest. See Connick v. Thompson,

563 U.S. at 60.

      II.    Qualified immunity bars the claims against the individual defendants.

      a.     There was at least arguable probable cause to order the arrest of those
             who did not comply with the dispersal orders

                                            6
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 7 of 13 PageID #: 4991




      Plaintiff’s argument as it relates to his arrest claim is that he did not commit

any crimes, nor did any officer who was involved in his arrest witness him commit

any crimes. However, this misses the point. The decision to makes arrests, of those

who did not comply with dispersal orders was based on at least arguable probable

cause. Just a few hours earlier, in the same night, at a nearby location, there had

been unquestionable violence and property damage. (Pl. SOF ¶¶ 44-47)¶ Believing

that the instigators of that destruction had been apprehended, the SLPD sent the

CDT back to the staging area and out of downtown. (SOF ¶ 47)

      It was then that reports made their way to Col. Leyshock that groups were

beginning to reform at multiple locations downtown. (SOF ¶¶48-54) The reports of

the crowd continued to increase in both size and intensity. (SOF ¶¶ 48-54) BRT

officers met one of the groups at Locust and Tucker. (SOF ¶¶49-50) Reports then

came in that the group, which had grown in size, was engaging with the BRT. (SOF

¶ 47) Lt. Boyher requested that a car arrive to give dispersal orders.

      To learn more information about what was going on, Col. Leyshock asked Maj.

Howard to call him. (SOF ¶¶ 53-54) Maj. Howard had taken a group of non-CDT

officers downtown because the SLPD believed the protesting to be over for the

evening. (SOF ¶45-46). He heard about something happening around Locust and

11th street. Upon arriving, Maj. Howard saw the crowd and an item was immediately

thrown in his direction. (SOF ¶ 51) At Col. Leyshock’s direction, he relayed that

information on a phone call, and relayed that he did not believe that the crowd would

disperse. (SOF ¶¶ 53-54).



                                          7
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 8 of 13 PageID #: 4992




      It was only at this point that that Lt. Col. Leyshock ordered the CDT back

downtown and for Sgt. Rossomanno to begin giving dispersal orders. (SOF ¶ 55). Lt.

Col. Leyshock was also aware of the nature of the protests earlier that weekend. (SOF

¶¶ 35- 43) Sgt. Rossomanno had recently arrived at Locust and Tucker. He surveyed

the scene and agreed that dispersal orders needed to be given. He began to give

dispersal orders, no fewer than three of them were given. Each of those orders gave

those in the area two different routes of egress- west on Locust or north on Tucker.

(PL. SOF ¶¶ 56; 58)

      Plaintiff’s contention those who were in the area complied with the dispersal

orders is belied by the video. The group did move from one part of Locust, west until

he reached Tucker. However, once they were at Tucker, they failed to follow any other

commands. At least two additional dispersal orders can be heard on the video taken

by the protestors.

      “For a dispersal order to be meaningful, officers generally must give time for

a dispersal order to be heeded before the use of force.” Alsaada v. City of Columbus,

536 F. Supp. 3d 216, 267 (S.D. Ohio 2021). Here, it is undisputed that multiple

dispersal orders were given 30 minutes prior to the time that the intersection was

closed off. Further, the intersection was free for those looking to leave until just

before the intersection was closed off. Plaintiff states that he, along with several

others all walked north on Tucker and stopped at Washington and Tucker, but most

did not move to any other location. (PL. SOF ¶¶ 15-16 ). Another protestor,

Christopher Robertson, took a video on which the dispersal orders can be heard.



                                            8
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 9 of 13 PageID #: 4993




Rather than rather than leave, he states that he is going to find another group of

protestors. (Exhibit Y) Indeed, the City’s dispersal orders provided two routes of

egress. (PL SOF ¶ 59) But the idea of a dispersal order is to give routes to disperse.

The very word disperse means “to separate and move apart in different directions

without order or regularity; become scattered.” Dictionary.com,

https://www.dictionary.com/browse/disperse (2022). The idea of a dispersal order is

to scatter the crowd, but to make sure that the crowd knows the directions in which

they can travel to so scatter. The undisputed facts are that the Plaintiff walked with

others north on Tucker and then stayed on Washington. That is not dispersing. So,

after multiple orders, there were a large group of people, including Plaintiff, who

did not comply with an order to disperse.

      Once again, Plaintiff relies heavily on the Templeton injunction as means of

demonstrating that there was no probable cause. This injunction does not prevent

defendants or other law enforcement agencies from using all lawful means to

control crowds and protect against violence. Missouri's refusal-to-disperse law is not

restricted by this injunction. Where there is an unlawful assembly or riot, the police

can order persons to disperse and can arrest those who do not. If a crowd is

becoming unruly, the police may find it necessary to order the crowd to disperse—

including persons who are not committing crimes or violent acts—and the police

may also tell an unruly crowd to move to a different place. From time to time this

may mean that citizens who are themselves peaceful but who are part of a crowd

that is becoming violent must obey these orders or face arrest. This injunction



                                            9
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 10 of 13 PageID #: 4994




merely prohibits that kind of directive to peaceful citizens who are committing no

crimes, whether they are doing so singly or in a law-abiding group. So there was at

least arguable probable cause to arrest everyone at the intersection that night, and

those claims should be dismissed as they are barred by qualified immunity.

             b.    Qualified immunity bars the claims against the officers because
                   there for excessive force.

       The Supreme Court has repeatedly stressed that “[t]he ‘reasonableness’ of a

 particular use of force must be judged from the perspective of a reasonable officer

 on the scene, rather than with the 20/20 vision of hindsight.” Kisela v. Hughes, 138

 S. Ct. 1148, 1152 (2018) citing Graham v. Connor, 490 U. S. 386, 396 (1989). The

 undisputed facts here show the only force that has been alleged was by Officers on

 the arrest team as arrested Plaintiff. (PL SOF¶¶ 21-22) The only officer identified

 who was present for that incident was Officer Lee. (SOF ¶ 23). No other officer has

 been identified as having used any force on the plaintiff. This Court has already

 dismissed the claims related to the zip cuffs being too tight. (Doc. 142) It is

 undisputed that Col. O’Toole, Lt. Col. Leyshock, Maj. Howard, Lt. Kiphart, Sgts.

 Rossomanno, Jemerson, Karnowski and Long did not use any force on Thomas at

 all. So, for the reasons outlined in the memorandum in support, they should be

 granted summary judgment on the use of force claims as well. At best, Sgt. Gilman,

 Officers Lemons, Rodriguez, McNamara, Trenton Lee, Nicholas Lee and Daut only

 used the force necessary to detain and arrest Thomas. It is clear on the video that

 Thomas is struggling with the officers, so using some force to get him to comply is

 not unreasonable. At the very least, it is not clearly established that the officers

                                         10
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 11 of 13 PageID #: 4995




 could not so use force to get a non-compliant arrestee to stop struggling once he had

 been placed under arrest during a chaotic and fast moving protest. So qualified

 immunity should be granted in favor of those defendants.

III.   Plaintiff has produced no evidence that overcomes official immunity on the
       state law claims.

       Plaintiffs’ response does not dispute that the actions of the individual

defendants were discretionary. Rather, plaintiffs attempt to escape official immunity

by claiming that the actions were taken in bad faith or with malice. Plaintiffs do this,

even at summary judgment, through purely conclusory allegations. “A finding of

malice requires ‘conduct which is so reckless or wantonly and willfully in disregard

of one's rights that a trier of fact could infer from such conduct bad faith or any

improper or wrongful motive.” Wealot v. Brooks, 865 F.3d 1119, 1129 (8th Cir. 2017)

(citing Twiehaus, 706 S.W.2d at 447). “Acting with malice requires an ‘actual intent

to cause injury.’” Id. “A finding of bad faith embraces more than bad judgment or

negligence. It imports a dishonest purpose, moral obliquity, conscious wrongdoing,

[or] breach of a known duty through some ulterior motive.” Id. There is no such

evidence in this case to show that any officer acted with any ulterior motive. So official

immunity should bar the state law claims against the individuals.

IV.    Plaintiff’s do not oppose the defendant’s claims that sovereign immunity bars
       the state law claims against the City

       Though Plaintiff controverts several of the facts relating to the PFPC and the

self-insurance ordinance, nothing in his response in opposition to summary

judgment references the City’s argument that the state law claims are barred by



                                           11
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 12 of 13 PageID #: 4996




sovereign immunity. So, the only conclusion to be drawn is that Plaintiff does has

no opposition. This is the prudent, as the clear weight of authority and the facts do

not support a claim that sovereign immunity has been waived. The only argument

the City wishes to add to its memorandum in support is that the Eighth Circuit has

found that the PFPC does not create a waiver of sovereign immunity. See Torres v.

City of St. Louis, et al, 39 F.4th 494, 510 (8th Cir. 2022). So summary judgment

should be granted in favor or the City on the state law claims.

                                     Conclusion

      For the reasons stated above and in their motion for summary judgment,

Defendants City of St. Louis, and Defendants Col. O’Toole, Lt. Col. Leyshock, Lt.

Sachs, Lt .Howard, Lt. Aubuchon, Lt. Kiphart, Sgts. Rossomanno, Jemerson, and

Karnowski, Officers Gilman; Officers Trenton Lee, Nicholas Lee, Bryan Lemons,

Joseph Rodriguez, Timothy McNamara, and Patrick Daut, respectfully request that

this Court enter an order granting summary judgment in their favor, and for any

other relief as this Court deems just and proper.




                                          12
Case: 4:18-cv-01566-JAR Doc. #: 187 Filed: 10/12/22 Page: 13 of 13 PageID #: 4997




                                            Respectfully submitted,

                                            SHEENA HAMILTON
                                            CITY COUNSELOR

                                            /s/ Brandon Laird
                                            Brandon Laird 65564 MO
                                            Associate City Counselor
                                            lairdb@stlouis-mo.gov
                                            Abby Duncan 67766 MO
                                            Associate City Counselor
                                            duncana@stlouis-mo.gov
                                            Adriano Martinez 69214
                                            Assistant City Counselor
                                            martineza@stlouis-mo.gov
                                            1200 Market St.
                                            City Hall, Rm 314
                                            St. Louis, MO 63103
                                            314-622-3361
                                            Fax 314-622-4956




                                       13
